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IN THE UNITED STATES DISTRICT COURT FO}E _E `_ ` m_
THE WESTERN DISTRICT OF TENNESSEE 5 ~‘l' ""' -3
WESTERN DIVISION

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W.D. OF 'l`i`\l, §-.ril'.;.vi‘r`]l“ll$

CEDRIC ARNETT, et al.,
Plaintiffs,
vs. No. 01-2149-D-An
DOMINO’S PIZZA I, L.L.C. dfb/a
DOMINO’S PIZZA and
DOMINO’S PIZZA, INC. d/b/a
DOMINO’S PIZZA,

Defendants.

 

ORDER

 

This matter having come before the Coult, upon motion of the plaintiffs, by and
through their counsel, for an Order to Correct Filing and upon argument of counsel the

Court finds that said motion is Well-taken and should be granted

IT IS, THEREFORE, ORDERED that docket entries 119 (Motion to Extend all
Deadlines and to Join in Domino’s Pizza, L.L.C.’s Emergency Motion to Set Rule 16(b)
Scheduling Conference) and 120 (Order Referring Motion to Extend all Deadlines and to
Join in Domino’s Pizza, L.L.C.’s Emergency Motion to Set Rule 16(b) Scheduling
Conference) filed erroneously in the Case No. 00-2577 DV (Moore, et al. vs. Dom`mo’s
Pizza, L.L.C., et al.) shall be construed as filed correctly in Case No. 01-0249 D-An

(Arnette, et al. vs. Domino’s Pizza,`L.,L.C., et al.)

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ORDERED this the

   
 
     

U. . Distric Judge

This document entered on the docket sheet in compliance
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Honorable Bernice Donald
US DISTRICT COURT

